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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF IDAHO


UNITED STATES OF AMERICA,               )
                                        )
      Plaintiff,                        )              Case No. CR 04-0257-S-EJL
                                        )
v.                                      )
                                        )              ORDER
ABELARDO MARQUEZ-BEJAR,                 )
                                        )
      Defendant.                        )
________________________________________)

      IT IS HEREBY ORDERED that Greg S. Silvey, Esq. shall be appointed by this

Court to represent the above-named Defendant in the appeal which is currently pending

before the Ninth Circuit Court of Appeals (Docket No. 06-30073).

                                                DATED: February 21, 2006.



                                                Honorable Larry M. Boyle
                                                Chief U. S. Magistrate Judge
